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                                    United States v. Peterson
          United States District Court for the Eastern District of Michigan, Southern Division
                          October 17, 2022, Decided; October 17, 2022, Filed
                                          Case No. 20-20448


Reporter
2022 U.S. Dist. LEXIS 189070 *; 2022 WL 9914428
                                                     to Empanel a Semi-Anonymous Jury" (ECF No.
UNITED STATES OF AMERICA, Plaintiff, v. D-
                                                     307), "Defendant's Motion for Adjournment of
1 DUANE PETERSON, Defendant.
                                                     Trial Date" (ECF No.313), and "Defendant Duane
Prior History: United States v. Peterson, 2022       Peterson's Emergency Motion for Rule 17
U.S. Dist. LEXIS 33105, 2022 WL 570428 ( E.D.        Subpoena" (ECF No. 316). The motions were fully
Mich., Feb. 24, 2022)                                briefed, and the court held a hearing on October 13,
                                                     2022. E.D. Mich. L.R. 7.1(f)(2). For the reasons
Counsel: [*1] For Duane Peterson, also known as      stated the, below court will grant the Government's
Juan, Defendant: Alona Sharon, LEAD                  motion to empanel a semi-anonymous jury and
ATTORNEY, Alona Sharon, P.C., Southfield, MI;        deny Defendant's motions for Rule 17 subpoena
Ryan H. Machasic, LEAD ATTORNEY, Ryan H.             issuance and continuation of trial date.
Machasic, PC, Detroit, MI.
For United States of America, Plaintiff: Eaton
                                                     I. DISCUSSION
Brown, LEAD ATTORNEY, U.S. Attorney's
Office, Detroit, MI; Gjon Juncaj, USAO, Lrm Bass,
Shannon, Detroit, MI; Margaret M Smith, United       A. Government's Motion [*2] to Empanel a
States Attorney's Office, Detroit, MI.               Semi-Anonymous Jury
Judges: ROBERT H. CLELAND, UNITED                    A district court may keep the names of jury
STATES DISTRICT JUDGE.                               members confidential "in any case where the
                                                     interests of justice so require." 28 U.S.C. §
Opinion by: ROBERT H. CLELAND                        1863(b)(7). The Sixth Circuit has established that
                                                     "[t]he decision to empanel an anonymous jury is
Opinion
                                                     within the sound discretion of the trial court."
                                                     United States v. Lawson, 535 F.3d 434, 439 (6th
                                                     Cir. 2008). In United States v. Talley, 164 F.3d 989
OPINION AND ORDER GRANTING                           (6th Cir. 1999), the Sixth Circuit explained that:
GOVERNMENT'S MOTION TO EMPANEL A                          The anonymity of the jury should be preserved
SEMI-ANONYMOUS JURY, DENYING                              in cases: 1) with very dangerous persons who
DEFENDANT'S MOTION FOR RULE 17                            were participants in large scale organized
SUBPOENA, AND DENYING DEFENDANT'S                         crime, and who participated in mob-style
MOTION FOR ADJOURNMENT OF TRIAL                           killings and had previously attempted to
DATE                                                      interfere with the judicial process; 2) where
                                                          defendants have had a history of attempted jury
Pending before the court are "Government's Motion
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    tampering and serious criminal records; or 3)       conjoined with pretrial publicity are sufficient to
    where there have been allegations of dangerous      warrant concern. Although pre-trial media attention
    and unscrupulous conduct by the defendant,          may not be overwhelming, local news outlets have
    coupled with extensive pretrial publicity.          reported on this case. Any potential for prejudicial
                                                        effect of pretrial and mid-trial publicity will be
Id. at 1001-02. The court "look[s] to the totality of minimized by jury anonymity. Additionally,
the circumstances" when determining whether the Defendant would face lengthy incarceration, i.e.,
use of an anonymous jury is appropriate. United life. This increases the likelihood that Defendants
States v. Koubriti, 252 F. Supp. 2d 418, 421 (E.D. might resort to extreme measures to influence the
Mich. 2003) (Rosen, J.) (citing United States v. outcome of his trials. See United States v. Deitz,
Branch, 91 F.3d 699, 724 (5th Cir.1996)).               577 F.3d 672, 685 (6th Cir. 2009) (citing United
                                                        State v. Ochoa-Vasquez, 428 F3d 1015, 1035 (11th
Defendant argues that the Government has not meet
                                                        Cir. 2005)) (considering that a defendant faced "a
its burden of showing the need for a semi-
                                                        lengthy sentence" in its analysis of whether a
anonymous jury. He asserts that "there is no
                                                        district court properly employed an anonymous
evidence that [he] has ever interfered with any prior
                                                        jury). All of these factors indicate that semi-
judicial process or has intimidated witnesses [*3]
                                                        anonymity is appropriate as a safety precaution and
or government personnel," or "that [he] has threated
                                                        to avoid interference with the jury's ability to
to do so or that it is likely to happen." (ECF No.
                                                        function.
321, PageID.2602.) That would indicate the
absence of the second situation described in Talley, The parties make some additional requests in their
but it does not by itself require the court to deny the briefings. First, the Government requests that the
Government's motion. Indeed, the court can court prohibit the parties from conducting out-of-
properly exercise its discretion and conclude that court investigations into potential jurors or
the presence of the other factors allows for the monitoring their social media. (ECF No. 307,
empaneling of an anonymous jury. Talley, 164 F.3d PageID.2467.) With no objection from Defendant
at 1002.                                                (ECF No. 321), the court finds this request well-
                                                        taken. On the other hand, Defendant has requested
Here, the Government shows that the other a "meaningful [*5] voir dire with complement of
situations described in Talley are applicable to this an extensive juror questionnaire" by counsel. (Id.,
case. The indictment portrays Defendant as the PageID.2603.) It is the court's practice to conduct
leader of an extensive and belligerent criminal gang voir dire itself (not by attorneys), and it fully
that engaged in numerous acts of violence, intends to do so meaningfully with careful
obstruction of justice, and witness tampering. (ECF consideration of the juror questionnaire proposed
No. 216.) The Government posits that Defendant's by both parties.
underlings have engaged in attempted witness
intimidation, threats on social media, and In short, the court will order the empanelment of a
dissemination of individuals' names that they semi-anonymous jury panel, with potential jurors'
believe are cooperating with law enforcement. identities made known only to counsel. Both parties
(ECF No. 307, PageID.2464.) Here, "the are also prohibited from conducting out-of-court
paradigmatic situation justifying an anonymous investigations into potential jurors or monitoring
jury is an organized crime trial, where the safety of their social media.
the jurors becomes an overriding concern."
Koubriti, 252 F. Supp. 2d at 421. Furthermore, the
allegations of "dangerous and unscrupulous B. Defendant's Motion for Rule 17 Subpoena
conduct" by Defendant [*4] and his gang members
                                                        Federal Rule of Criminal Procedure 17(c) allows a
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party to request the court's issuance of a subpoena        at *3 (citing Nixon, 418 U.S. at 702).1
duces tecum for the production of documents in
                                                   Defendant fails to satisfy the Nixon test. His
court prior to trial for inspection by the parties and
                                                   requests for "all" items, not limited to any
their attorneys. Fed. R. Crim. P. 17(c). This rule is
not meant to expand the scope of discovery in      reasonable period of time or with any reasonable
criminal cases. United States v. Nixon, 418 U.S.   precision of the subjects to which the documents
683, 698-99, 94 S. Ct. 3090, 41 L. Ed. 2d 1039     relate (in the case of Request 1), are overly broad.
                                                   See, United States v. Mills, No. 16-CR-20460, 2019
(1974) ("[C]ourts must be careful that Rule 17(c) is
not turned into a broad discovery device, thereby  U.S. Dist. LEXIS 173, 2019 WL 76869, at *5 (E.D.
undercutting the strict limitation of discovery in Mich. Jan. 2, 2019) (Goldsmith, J.) (citing cases).
criminal cases found in Fed. R. Crim. P. 16.");    The specificity requirement also fails because the
United States v. Llanez-Garcia, 735 F.3d 483, 494  requests are based merely on Defendant's or his
                                                   counsel's hope or speculation that something useful
(6th Cir. 2013) ("Rule 17(c) is not meant to provide
an additional way to secure pretrial discovery."). will turn up. Id.; see also United States v. Cooper,
Nor does it "provide a broad right to discovery forNo. 08-20464, 2009 U.S. Dist. LEXIS 40751, 2009
criminal defendants. There is no general           WL 1384145, at *7 (E.D. Mich. May 14, 2009)
constitutional [*6] right to discovery in criminal (Cook, [*7] J.) (rejecting a subpoena request based
cases." United States v. Reid, No. 10-20596, 2011  on mere belief that more documents may exist);
U.S. Dist. LEXIS 123554, 2011 WL 5075661, at *3    United States v. Raheja, No. 1:19-CR-559-4, 2022
(E.D. Mich. Oct. 26, 2011) (Roberts, J.) (citing   U.S. Dist. LEXIS 129060, 2022 WL 2870902, at *5
Weatherford v. Bursey, 429 U.S. 545, 559, 97 S. Ct.(N.D. Ohio July 20, 2022) (declining to issue a
837, 51 L. Ed. 2d 30 (1977)).                      proposed subpoena when the requests therein "are
                                                   not narrowly tailored to obtain specific documents
The movant for a Rule 17 subpoena - here, but are design to discover whether relevant
Defendant - must show four elements:               document exist") (citing cases); United States v.
                                                   Caro, 597 F.3d 608, 620 (4th Cir. 2010) ("[T]he
   (1) the documents are evidentiary and relevant; hope of obtaining favorable evidence does not
   (2) they are not otherwise procurable, with due justify the issuance of [a Rule 17(c)] subpoena,"
   diligence, in advance of trial; (3) the party especially when the movant "can only speculate as
   cannot properly prepare for trial without such to what the requested information would have
   production and inspection in advance of trial; shown"); United States v. Morris, 287 F.3d 985,
   and (4) the application was made in good faith 991 (10th Cir. 2002) (affirming denial of Rule
   and is not intended as a fishing expedition.    17(c) subpoena because "[n]ot only is [the
United States v. Nixon, 418 U.S. 683, 699-700, 94
S. Ct. 3090, 41 L. Ed. 2d 1039 (1974). Further, "a         1
                                                            Defendant challenges the Government's standing to oppose to his
subpoena duces tecum has additional requirements           motion for Rule 17 subpoena. But see United States v. Tutt, No. 13-
of 'relevance, admissibility[,] and specificity.'" In re   CR-20396, 2013 U.S. Dist. LEXIS 127971, 2013 WL 4803486, at *2
Sittenfeld, No. 22-3694, 49 F.4th 1061, 2022 U.S.          (E.D. Mich. Sept. 9, 2013) (Drain, J.) (concluding that "when Rule
App. LEXIS 26700, 2022 WL 4392670, at *11 (6th             17(c) is used to obtain documentary evidence in advance of trial, the
                                                           application should be reviewable by all parties to the proceedings" as
Cir. Sept. 23, 2022) (quoting United States v.             "[w]ithout a response from the Government, the Court will have
Hughes, 895 F.2d 1135, 1145-46 (6th Cir. 1990));           difficulty assessing whether Defendant has made the requisite
see also Nixon, 418 U.S. at 700. The decision              showing under Nixon for the production of the requested evidence").
whether to issue a subpoena under Rule 17(c) rests         In any case, "[b]ecause it is the responsibility of the [c]ourt 'to ensure
                                                           that a subpoena secured under Rule 17(c) is for a proper purpose,'. . .
within the sound discretion of the trial court. Reid,      the [c]ourt does not need any assistance from the opposing party in
2011 U.S. Dist. LEXIS 123554, 2011 WL 5075661,             applying the Nixon test." Mills, 2019 U.S. Dist. LEXIS 173, 2019 WL
                                                           76869, at *4.
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defendant] unable to specify what the items he
requests contain, he is also unable to verify whether                 C. Defendant's Motion for Adjournment of Trial
the requested material even exists"); United States                   Date
v. Hang, 75 F.3d 1275, 1283 (8th Cir. 1996)
(stating that "a Rule 17 subpoena cannot properly                       The court has significant discretion in deciding
be issued upon a 'mere hope'"). Simply put,                             continuance requests. Franklin v. Bradshaw, 695
Defendant's requests - made with the hope of                            F.3d 439, 452 (6th Cir. 2012) (citing Morris v.
discovering additional information beyond what the                      Slappy, 461 U.S. 1, 103 S. Ct. 1610, 75 L. Ed. 2d
Government has relied upon in its indictment and                        610(1983)). "'The denial of a defendant's motion
already provided to Defendant—amounts to "a                             for a continuance amounts to a constitutional
quintessential fishing expedition." Mills, 2019 U.S.                    violation only if there is an unreasoning and
Dist. LEXIS 173, 2019 WL 76869, at *5.                                  arbitrary insistence upon expeditiousness in the
                                                                        face of a justifiable request for delay.'" Id. (quoting
Defendant's proffered need beyond mere hope of United States v. King, 127 F.3d 483, 486-87 (6th
finding more documents also does not justify the Cir. 1997)) (citing Morris, 461 U.S. at 11-12).
issuance of Rule 17(c) subpoena. Specifically, "'There are no mechanical tests for deciding when a
Defendant claims that he [*8] would use the denial of a continuance is so arbitrary as to violate
intergovernmental             agencies'         communications due process. The answer [*9] must be found in the
regarding his FOIA requests, if they exist,2 for circumstances present in every case, particularly in
impeachment             purpose.        (ECF          No.       316, the reasons presented to the trial judge at the time
PageID.2564.) But Nixon made clear that the request is denied.'" Id. at 452-53 (quoting
"[g]enerally, the need for evidence to impeach Ungar v. Sarafite, 376 U.S. 575, 589, 84 S. Ct. 841,
witnesses is insufficient to require its production in 11 L. Ed. 2d 921 (1964)).
advance of trial." Nixon, 418 U.S. at 701. Federal
courts have consistently held "that Rule 17(c) Trial for this years-old matter has been adjourned
subpoenas should not be used to obtain, before trial, several times, the last of which resulted in the
materials to be used for impeachment purposes." parties' June 1, 2022 stipulation to begin trial on
United States v. Jenkins, 895 F. Supp. 1389, 1393- November 15, 2022. (ECF No. 219.) The
94 (D. Haw. 1995) (citing United States v. Fields, justifications for the previous continuances include
663 F.2d 880, 881 (9th Cir. 1981)); accord United the need for additional time for distribution and
States v. Cherry, 876 F. Supp. 547, 553 (S.D.N.Y. review of discovery materials. (See e.g., id,
1995) ("Courts have consistently interpreted the PageID.1241.) Defense counsel now claims that
admissibility standard of Rule 17(c) to preclude outstanding discovery issues and the need to review
production of materials whose evidentiary use is voluminous materials and prepare for trial warrant
limited to impeachment.").                                              another adjournment to mid-April 2023. (ECF No.
                                                                        313.)
Accordingly, the court will deny Defendant's
motion for a Rule 17 subpoena.                                          However, the outstanding discovery issues have
                                                                        largely been resolved as of October 13, 2022. With
                                                                        the court's denial of Defendant's motion for Rule 17
                                                                        subpoena, supra, the defense has received all the
2
  Again, nothing indicates that this kind of communications even discovery in this case (many of which were
exists. Defendant relies on the City of Detroit's response to his first produced multiple times before).3 Regarding trial
FOIA requests to insinuate that "someone from the federal
government has interfered with the production of the FOIAed items."
(ECF No 325, PageID.2722.) As the court indicated during the
                                                                      3
October 13 hearing, Defendant's interpretation of the response is      Contrary to Defendant's assertions, the court finds no discovery
misplaced.                                                            violation by the Government.
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preparation, two very capable attorneys zealously                           operational plan of jury empanelment (including a
represent Defendant in this case, they have cleared                         neutral and non-prejudicial explanation to the jurors
their schedules to prepare for trial, and they are                          so that they refrain from presuming anonymity is
assisted by a discovery specialist who seems to be                          necessary due to Defendant's character and a
just [*10] as proficient. The tasks associated with                         proposed joint juror voir dire questionnaire) at least
the alleged recently furnished materials and expert4                        a week before trial.
can realistically be completed by the scheduled trial
date.5 Additionally, the Government has expressed                           IT IS FURTHER ORDERED that "Defendant's
its willingness to make accommodations that would                           Motion for Adjournment of Trial Date" (ECF
be helpful to the defense's trial preparation. These                        No.313), and "Defendant Duane Peterson's
include: (1) providing Jencks materials,6 exhibit                           Emergency Motion for Rule 17 Subpoena" (ECF
and witness lists, and the order of calling witnesses                       No. 316) are DENIED.
30 days before trial; (2) offering stipulations to
                                                                            /s/ Robert H. Cleland
eliminate the need for extraneous witnesses; and (3)
specifying which parts of Defendant's jail calls it                         ROBERT H. CLELAND
intend to use. In short, denying a continuance
would not deprive Defendant of reasonable time for                          UNITED STATES DISTRICT JUDGE
effective preparation for trial. 18 U.S.C. §
                                                                            Dated: October 17, 2022
3161(h)(7)(B)(iv). On the other hand, an additional
months-long continuance would cause prejudice to
the prosecution and create difficulties for the court                         End of Document
based on its other scheduling needs, and it would
frustrate the public interest in the prompt and
efficient administration of justice.

Accordingly, Defendant's motion to adjourn trial
date is denied.


II. CONCLUSION

IT IS ORDERED that "Government's Motion to
Empanel a Semi-Anonymous Jury" (ECF No. 307)
is GRANTED. Counsel for the parties must meet
and confer to provide the court [*11] with an


4
 While defense counsel represented to the court at the hearing that it
would take the service provider a month to perform the work,
Defendant's recent motion to approve budget indicated that the
number of hours for the provider's service is 50. In any case, there is
at least a month for the service provider to complete the task.
5
  If defense counsel needs additional support services to help with the
tasks (e.g., paralegals, legal assistants), they can make requests to the
court.

6
 See United States v. Fletcher, 295 F. App'x 749, 753 (6th Cir.
2008) ("[A]ny [Jencks Act] materials disclosed prior to trial
exceeded the government's obligation under the Act.").
